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             (Rev. 12/07) Judgment in a Criminal Case for Revocations
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             Sheet 1                                                  #390




        UNITED STATES OF AMERICA
                             v.
              Lowell Eugene Johnson

                                                                                                                                                        Case No. 4:95CR40083-004-JPG
                                                                                                                                                        USM No. 03663-025
                                                                                                                                                        Melissa Day, AFPD
                                                                                                                                                                                                                     Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)                                                                  as alleged below                                                                  of the tenn of supervision.
o was found in violation of condition(s)                                                                   _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty ofthese violations:


Violation Number             Nature of Violation                                                                                                                                                                                                 Violation Ended
Statutory                         The defendant committed the offense of Failure to Wear Seat                                                                                                                                                    11/09/2010
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                                             . J:>.".... . .".". ,.9., ..'.,',,""'."/" 'i~ .....
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                                              ~:   ,,: '::,,:,,:!,::!,   "'I:':,:,I',I:.!,'. :I,illl':.!" "c', ', _ ,i,I:""·.;   '1'1,"',
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                                                                                                                                                                              'I',,,: '" ,I,,, ,'"   _, ,:,,:   '   ,'>: "":"':.    ',1,,1,,'"



Statutory                         The defendant illegally possessed marihuana                                                                                                                                                                    11/09/2010



       The defendant is sentenced as provided in pages 2 through __3",--_ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economIC CIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1616                                                                                                     01/25/2011

Defendant's Year of Birth:               1959

City and State of Defendant's Residence:
Cairo,IL
                                                                                                                                                        J. Phil Gilbert                                                                                District Judge
                                                                                                                                                                                                                    Name and Title of Judge
AO 245D
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                                         ADDITIONAL VIOLATIONS

                                                                                                         Violation
Violation Number       Nature of Violation                                                               Concluded
Standard #1            Defendant left judicial district without permission from probation                11/09/2010



                       incomplete

                       '!ifh~>~if
                       probation
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 DEFENDANT: Lowell Eugene Johnson
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                                                                  IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
6 months




      o The court makes the following recommendations to the Bureau of Prisons:



      t/ The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN

 I have executed this jUdgment as follows:




           Defendant delivered on                                                 to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                            By
                                                                                        DEPUTY UNITED STATES MARSHAL
